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                                                                                                          No. 13-197C
                                                                                                      Filed: July 19,2013                                   FILED
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                                                                                                                                                           JUL   I   I2013
                                                                                                                                                        U.8. COURT OF
CHRISTIAN J. WURST III,                                                                                                                                FEDERAL CLAIMS

                      Plaintiff,
                                                                                                                           Motion To Dismiss, RCFC 12(b)(1);
                                                                                                                           Pro Se;
                                                                                                                           Tucker Act, 28 U.S.C. $ 1a9l(aXl), (c)
                                                                                                                               (actions against Tennessee Valley
THE LTNITED STATES,
                                                                                                                               Authority).
                      Defendant

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Christian J. Wurst III, Philadelphi4 Pennsylvania, Plaintiff , pro                                                                         se.


Carrie A. Dunsmore, Commercial Litigation Branch, United States Department of Justice, Civil
Division, Washington, D.C., Counsel for the Govemment.

                                                                MEMORANDUM OPINION AND FINAL ORDER

BRADEN,,./ndge.

I.                    FACTUAL BACKGROUND.I

       This case involves an employment contract between Christian J. Wurst                                                                               III ("Plaintiff')
and the Tennessee Valley Authority ("the TVA"). Compl. at 2.

        On September 5,2011, Plaintiff applied for employment with the TVA for the position of
Electrical Engineering Design at the Browns Ferry Nuclear Plant in Athens, Alabama. Compl. at
7. On December 7,2011, the TVA made a conditional offer of employment to Plaintiff for the
position of Electrical Engineering Design in the Nuclear Power Group in Decatur, Alabama.
Compl. at 18, The employment offer was contingent on security and medical clearances.
Compl. at 18. On March 8,2012, the TVA confirmed that Plaintiff met the employment
conditions, so that the TVA could proceed to ascertain a start date. Compl. at 25. On March 9,
2012, the TVA advised Plaintiff that his employment start date and orientation would be March


                      rThe relevant facts                                          discussed herein were derived from the March 18,2013 Complaint
("Compl.").
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26,2012. Compl. at 26, On March 12, 2012, Plaintiff informed the TVA that, although he
would be able to attend the orientation, he believed that the start date was "unreasonable,
inconsiderate, and placing undue stress" on his ability to relocate. Compl. at 28. On March 14,
2012, the TVA rescinded Plaintiff s offer of employment. Compl. at 9, 84 (Apr. 26,2012 e-mail
confirming that "[t]he [rescind] order was given via telephone . . . in light of [Mr. Wurst's]
determination to further delay his start date"), 374 (Mu. 14,2012 rescind letter forwarded to
Plaintiff via e-mail). The TVA declined to reconsider this decision. Compl. at 9. On September
 11, 2012, Plaintiff filed a petition for appeal to the Merit Systems Protection Board ("MSPB").
Compl. at 104. On October 29,2012, the MSPB dismissed the appeal for lack ofjurisdiction.
Compl. at 325.

II.    PROCEDURALHISTORY,

        On March 18, 2013, Plaintiff filed a Complaint in the United States Court of Federal
Claims against the United States ("the Government"), alleging that: (1) Plaintiff "detrimentally
relied on this offer of employment," because (a) Plaintiff made a "monetary down payment and
signed a purchase contract to procure a permanent residence" near the place of employment, as
described in the employment contract, (b) Plaintiff hired a moving company to lransfer his
personal property, and (c) Plaintiff paid for and obtained an engineering license within the State
of Alabama as required by the employment contract (Compl. at 2-3); and (2) Plaintiff "expended
unpaid time and unrecoverable monies" from the day Plaintiff signed the TVA's employment
offer to the day that the TVA rescinded the offer of employment. Compl. at 3.

        The March 18, 2013 Complaint, in effect, alleges that TVA breached the employment
contract, for which Plaintiffseeks reliance damages in the amount of$84,008.38. Compl. at 12.

         On May 5,2013, the Govemment filed a Motion To Dismiss for lack of subject matter
jurisdiction pursuant to RCFC 12(b)(1) ("Gov't Mot."). On June 13, 2013, Plaintiff notified the
court that he would not file a Response.

III.   DISCUSSION.

       A,        Jurisdiction.

        The United States Court ofFederal Claims has "jurisdiction to render judgment upon any
claim against the United States founded either upon the Constitution, or any Act of Congress or
any regulation of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding in to       ." 28
U.S.C. $ 1a91(a)(1) (2006). The Tucker Act, however, is "only a jurisdictional statute; it does
not create any substantive right enforceable against the United States for money damages."
United States v. Mitchell,445 U.S. 535, 538 (1980) (quoting United States v. Testan,424 U.S.
392, 398 (1976)). Therefore, to satisfy the jurisdictional requirements of the Tucker Act, a
plaintiff must identily and plead a constitutional provision, federal statute, independent
contractual relationship, and/or executive agency regulation that provides a substantive right to
money damages. ,See Todd v. United States, 386 F.3d 1091, 1094 (Fed. Cir. 2004)
("[J]urisdiction under the Tucker Act requires the litigant to identi$ a substantive right for
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money damages against the United States separate from the Tucker Act itself."); see also
Roth v. United \tates,378F.3d1371,1384 (Fed. Cir.2004) ("Because the Tucker Act itself does
not provide a substantive cause of action . . . a plaintiff must find elsewhere a money-mandating
source upon which to base a suit,").

        In addition, 28 U.S.C. $ 1a91(c) explicitly states that "[n]othing herein shall be construed
to give  the United States Court of Federal Claims jurisdiction . . . of any action against, or
founded on conduct of, the Tennessee Valley Authority[.]" 28 U.S.C. g 1491(c).

        B.      Standard For Decision On Motion To Dismiss Pursuant To RCFC 12(bxl).

        A challenge to the United States Court ofFederal Claims' "general power to adjudicate in
 specific areas of substantive law            is properly raised by a [Rule] 12(bX1) motion."
Palmer v. United States,168 F.3d 1310, 1313 (Fed. Cir. 1999); see a/so RCFC 12(b)(1) ("Every
 defense to a claim for relief in any pleading must be asserted in t}re responsive pleading ifone is
required. But a party may assert the following defenses by motion: (1) lack of subject-matter
jurisdiction[.]"). "[I]n deciding the Govemment's motion to dismiss plaintiff['s] complaint, the
cou( [is] obligated to assume all factual allegations to be true and to draw all reasonable
 inferences in plaintiff s fayor." Henke v. United States, 60 F.3d 795, 797 (Fed. Cir. 1995).
Nonetheless, Plaintiff bears the burden of establishing jurisdiction by a preponderance of the
evidence. See Reynolds v. Army & Air Force Exch. Serv.,846 F.2d 746,748 (Fed. Cir. 1988)
("[O]nce the [trial] court's subject matter jurisdiction [is] put in question . . . [Plaintiffl bears the
burden ofestablishing subject matter jurisdiction by a preponderance ofthe evidence.").

        C,      Issue Raised By The Government's May 3,2013 Motion To Dismiss.

         The Govemment's principal argument is that the United States Court of Federal Claims
 does not have jurisdiction to adjudicate Plaintiffs claims, because the Tucker Act explicitly
 states under 28 U.S.C. $ 1491(c) that the United States Court of Federal Claims does not have
jurisdiction to adjudicate "any action against, or founded on conduct of, the Tennessee Valley
 Authority." 28 U.S.C. $ 1a9l (c). Because the Complaint concems a contract between Plaintiff
 and the TVA, it is "an action against" the Temessee Valley Authority. 28 U.S.C. g 1491(c). As
 such, this court does not have jurisdiction to adjudicate the claims alleged in the March I 8, 2013
 complaint; however, a united States District court within the appropriate venue may consider
Plaintiff s breach of contract claim and his implicit claim of breach of the implied duty ofgood
faith and fair dealing. see Algernon Blair Indus. contractors, Inc. v. Tenn. vatley Auth.,552F.
 stpp.972,974 (M.D. Ala. 1993) ("The TVA always has been 'liable to direct lawsuit like any
other litigant."' (quoting Latch v. Tenn. Valley Auth., 312 F. Supp. 1069, 1072 (N.D. Miss.
 1970))); see a/so 14 CHenr-Es ALAN WRIGHT ET AL., FEDERAL PRACTICE AND PRoCEDURE $ 3657
(3d ed. 1998) ("[s]uits brought against the Tennessee valley Authority, over which the court of
Federal Claims has no subject matter jurisdiction, still may be brought in the United States
district courts.").
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ry.   CONCLUSION.

        For these reasons. the Govemment's Mav 5.2013 Motion To Dismiss is sranted.
Clerk is directed to dismiss the March 18. 2013 Comolaint.

      IT IS SO ORDERED.


                                                      SUSA      .   BRADEN
                                                      Judge
